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Counsel for Highland Capital Management, L.P.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION
                                                                      §
    In re:
                                                                      §   Chapter 11
                                                                      §
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                      §   Case No. 19-34054-sgj11
                                                                      §
                                     Reorganized Debtor.
                                                                      §
                                                                      §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                      §
                                                                      §   Adversary Proceeding No.
                                     Plaintiff,
                                                                      §
                                                                      §   21-3006-sgj
    vs.
                                                                      §
                                                                      §
    HIGHLAND CAPITAL MANAGEMENT
                                                                      §
    SERVICES, INC., JAMES DONDERO, NANCY
    DONDERO, AND THE DUGABOY INVESTMENT                               §
                                                                      §
    TRUST,
                                                                      §
                                     Defendants.                      §
                                                                      §




1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.



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        HIGHLAND’S OPPOSITION TO MOTION TO DISMISS FIFTH, SIXTH, AND
                       SEVENTH CLAIMS FOR RELIEF

           Highland Capital Management, L.P., the plaintiff in the above-captioned and related

adversary proceedings (the “Adversary Proceedings”) and the reorganized debtor 2 (“Highland” or

the “Debtor” as may temporally be required) in the above-captioned chapter 11 case (the

“Bankruptcy Case”), hereby submits this opposition (the “Opposition”) 3 to Defendants’ Rule

12(b)(6) Motion to Dismiss Plaintiff’s Fifth, Sixth, and Seventh Claims for Relief [Docket No. 72] 4

(the “Motion”) filed by defendants James Dondero (“Mr. Dondero”), Nancy Dondero (together

with Mr. Dondero, the “Donderos”), and The Dugaboy Investment Trust (“Dugaboy,” and

collectively with Mr. Dondero and Nancy Dondero, the “Defendants”).                           The Debtor fully

incorporates by reference its contemporaneously filed brief in opposition to the Motion and would

show unto the Court as follows:

                                            RELIEF REQUESTED

           1.      By this Opposition, Highland respectfully requests that the Court enter an order

denying Defendants’ Motion seeking to dismiss the Fifth, Sixth, and Seventh Claims for Relief in

Highland’s Amended Complaint for (i) Breach of Contract, (ii) Turnover of Property, (iii)

Fraudulent Transfer, and (iv) Breach of Fiduciary Duty [Docket No. 68] (the “Amended

Complaint”).



2
  On February 22, 2021, the Bankruptcy Court entered the Order (i) Confirming the Fifth Amended Plan of
Reorganization (as Modified) and (ii) Granting Related Relief [Bankr. Docket No. 1943] (the “Confirmation Order”)
which confirmed the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P., as modified (the
“Plan”). The Plan went Effective (as defined in the Plan) on August 11, 2021, and Highland is the Reorganized Debtor
(as defined in the Plan) since the Effective Date. See Notice of Occurrence of Effective Date of Confirmed Fifth
Amended Plan of Reorganization of Highland Capital Management, L.P. [Bankr. Docket No. 2700].
3
  This Opposition is being concurrently filed in Adversary Proceeding Nos. 21-3003, 21-3005, 21-3006, and 21-3007,
as the claims asserted against Defendants and the arguments raised in the Motion in each of these proceedings are
identical.
4
    Refers to the docket number maintained in the Adversary Proceeding.


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        2.       Pursuant to Rules 7.1(d) and (h) of the Local Bankruptcy Rules of the United States

Bankruptcy Court for the Northern District of Texas (the “Local Rules”), a separate brief (the

“Brief”) is being filed contemporaneously with this Opposition and is incorporated by reference.

                                             PRAYER

        WHEREFORE, PREMISES CONSIDERED, Highland respectfully requests that the Court

enter an order (i) denying in whole the relief requested in the Motion, and (ii) granting Highland

such further and additional relief as the Court deems just and proper.




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